
PER CURIAM.
Upon review of the briefs and record on appeal we are of the opinion that the evidence clearly demonstrates a reasonable doubt as to the sanity of the defendant at the time of the offense so as to overcome the presumption of sanity. Byrd v. State, Fla.1974, 297 So.2d 22; Farrell v. State, Fla. 1958, 101 So.2d 130. A reasonable doubt having been raised and the state having failed to overcome it, the judgment is reversed and the cause remanded for a new trial. Cf. Powell v. Genung, Fla.1974, 306 So.2d 113.
Reversed and remanded.
CROSS, MAGER and DOWNEY, JJ„ concur.
